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                   Exhibit D
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From: Kimberly Oelman <kfdonnan@gmail.com>
Sent: Thursday, October 29, 2020 10:07 AM
To: Segal, Jonathan <JonathanSegal@dwt.com>
Subject: Fwd: The Profit: Production Forms - Gooberry Corp



Kimberly Donnan
Machete Productions
www.machetetv.com
310-386-4096

Begin forwarded message:

       From: Kimberly Donnan <kfdonnan@gmail.com>
       Date: May 14, 2014 at 1:03:20 PM PDT
       To: Noemi Goureau <nicolas@courageb.com>
       Subject: The Profit: Production Forms - Gooberry Corp


       Hi Nicolas:

       Per our conversation yesterday, now that we have received your background documents, the next
       step is to have these attached releases signed. Take your time reading thru them. I am here to
       answer any questions about them you may have.

       1. Owner and Key Employee Release – to be signed one per owner (so just you)

       2. Business Entity Release – one to be signed on behalf of the business

       3. Location Agreement – please fill in your name and location address and sign, leaving the
       date of filming blank as we will be filming over several days. If you have multiple locations, we
                                                             1
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need one signed for each location. For your company let's get one signed for your corporate
office, one for Fopps and one for the Greenwich store location as those will be the three locations
we are most likely to visit while filming.

4. Incidental Participants Release - these are to be signed by all of your employees and/or family
members who work at your company who are likely to be on camera. This includes employees at
the Fopps and Greenwich locations. In the event you have an employee who does not wish to
appear on camera, please let me know. I also need solo photos of all employees and/or family
members who work at your business including you. This is so we know who is who when we
arrive. You can send these photos via email with a list of names so I can match the photos to the
name.

5. Clearance Release - this is a release enabling us to use any of the photos that you submitted to
us during the casting process as part of your episode. Please just sign and date leaving the area of
listed items blank as we will fill in those photos we will use.

Again, please let me know if you have any questions on any of the above or attached!

Thanks!
Kim




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